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                                                            July 22, 2019




VIA ECF AND FACSIMILE

Hon. Paul G. Gardephe
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007


          Re:   Gregg Singer, Sing Fina Corp., and 9th & 10th Street LLC v. The City of New
                York, etal., Docket No.: l:18-cv-00615


Dear Judge Gardephe:


      We represent defendants The Greenwich Village Society for Historic Preservation, Inc.
and Andrew Berman in this action. We submit this letter in response to the July 16, 2019 letter
of plaintiffs Gregg Singer, Sing Fina Corp., and 9th & 10th Street LLC, and join in co-defendant
Aaron Sosnick's July 17, 2019 letter submission.


        Plaintiffs contend that the United States Supreme Court's recent decision in Knick v.
Twp. of Scott, Pennsylvania, 204 L. Ed. 2d. 558 (2019) renders their takings claim within their
Fifth Cause of Action ripe for judicial review. While Plaintiffs misconstrue Knick as a complete
overruling of Williamson Cty. Reg 'I Planning Comm'n v. Hamilton Bank of Johnson City, 473
U.S. 172 (1985), such is not the case. Knick only overruled Williamson to the extent that
Williamson required that a plaintiff bringing a takings claim must exhaust all state court
procedures for compensation for a taking before seeking redress in federal court.


       What Plaintiffs failed to recognize, however, is that the Supreme Court, in its Knick
decision, did not address or otherwise overrule Williamson's finality requirement. Under this
requirement, the taking must be final in order for a takings claim to be ripe for federal review.
This requirement was not at issue in Knick and therefore remains intact. Knick, 204 L. Ed. 2d at
569 ("Knick does not question the validity of this finality requirement, which is not at issue
here."). Because the plaintiff in Williamson had an opportunity to seek a variance from the
appeals board, the Supreme Court held that the taking was not final. 473 U.S. at 186-194.



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Similarly, here the plaintiffs have an appeal presently pending before the Board of Standards and
Appeals (the "BSA"), which has regulatory authority over the zoning resolution at issue. Until
the appeal before the BSA is resolved and a decision is rendered, no alleged taking is final, and,
accordingly, plaintiffs' takings claim is not ripe for federal review.


         Additionally,   pursuant   to   Your Honor's   Individual   Rule   of Practice   IV(H),   all
defendants' motions to dismiss have been fully briefed and filed.           On September 7, 2018,
Plaintiffs filed a letter requesting oral argument on the motions to dismiss.          Thereafter, on
January 11, 2019, Plaintiffs filed a letter alerting the Court that over ninety days had passed
without oral argument or a decision being rendered. On March 15, 2019, Plaintiffs filed a letter
motion requesting leave to file a supplemental pleading, which co-defendant Aaron Sosnick
opposed on behalf of all Defendants on March 19, 2019. Because over ninety days have passed
since the foregoing requests, we respectfully request a determination on the pending motions to
dismiss.




                                                                espectfully,
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                                                               Paul Kovner, Esq.


cc: VIA ECF


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